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               UNITED STATES DISTRICT COURT

              SOUTHERN DISTRICT OF GEORGIA
                                                                                  c
                        SAVANNAH DIVISION
IRIE WILLIAMS BRINSON               )

V.                                  )        Case No. CV611-049
                                    )                 CR609-023               ;



UNITED STATES OF AMERICA            )                                             -H


                                   ORDER

       After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to

which no objections have been filed. Accordingly, the Report and

Recommendation of the Magistrate Judge is adopted as the opinion of the

Court.

       SO ORDERED this        C7   day of                  , 2014.




                                             • AV     ENFIELD / ,V
                                            UNITED STATES DISIR1CT COURT
                                            SOUThERN DISTRIc'f OF GEORGIA
